   Case 4:95-cr-00123-WTM-CLR Document 946 Filed 05/12/05 Page 1 of 2



                IN THE UNITED STATES DISTRICT COURT
               FOR THE SO UTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

UNITED          STATES           OF      AMERICA,               ?c1~
                                                                        t
     V,                          ) Criminal Case No_ . CR495-123
                                 } Civil Case NO"= CV405-043
                                7
KENNETH E .   BROWN,           1
                                 1
          Defendant .            ;


                               O R D E R

     Before the Court are Defendant's Motion to Supplement his

Objections to the Magistrate's Report and Recommendation (Doc .

942) and Supplemental objections to the Report and Recommendation .

(Doc . 945 .} The Court has adopted the Magistxate's Reporr ar_d

Recommendation, and, therefore, Defendant's Motion to Supplement is

DENIED as moot . Further, Defendant's supplemental obj ec vior .s do

non provide the Court with any grounds to waver from izs adoption

of nhe Report and Recommendation . Accordingly, Petitioner's

supplemental objections   are OVERRULED .'

     SO ORDERED, this day of May, 2005 .




                                 WILLIAM T- MOORE, !R- CHIEF JUDGE
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




     `Ci_a_ions in this order are to the docket in Defendan' s
criminal case . However, t h e Clerk of the Court is DIRECTED 7Q
have t he z ee rd reflect that Defendant ' s Motions are denied on
his civil doc k et as well .




                                                                        10
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                        United States District Court
                                Southern District of Georgia


Kenneth G . Brown


vs                                                       CASE NUM BER CV405-0043

United Stairs of America                                                         SAVANNAH
                                                          DIVISION

        The undcrsigied, a regularly appointed and qualified deputy in the office of the Clerk of this
        district . while conducting the business of the Court for said division, does hereby certify the
        following :



         ] - l tu .;uant to the instructions from the Court and in the performance of my official
               duties, I personal ly placed in the United States Mail a sealed envelope, and properly
               addressed to each of the persons, parties or attorneys -tamed below ; and

          - That the aforementioned enveloped contained a copy of the document dated
               I LI' 0                 , which is part of the official record of this case .


Date; of Mailing:                5 l U/05

Date of Certificate                      IR same date, or

                                                       Scott L . Pofl', Clerk

                                                                 .J1
                                                               yl



                                                              Deputy Clerk
Name and Address -
Kenneth F- Brow n, 08930-02 i, USrAtlanta , P .O . Box 150160 , Atlanta, GA 30315
Amy Lee Cope] arid, FFsq-, 11 . . Attortiey's Ot ice, P.D . Box 8970, Savannah, GA 31412
CRtMTtiAi-




                                                                                     0 Copy placed in Minutes
                                                                                     © Copy given to Judgc
                                                                                     Q Copy given to Magistrate
